 Case 2:17-cv-07727-PSG-JEM Document 50 Filed 02/07/18 Page 1 of 19 Page ID #:427



     BARRY ROSEN
 2   136 S. Clark Dr. #5           ~7C~~
     Los Angeles, CA 90048
 3
     Tel:(323)653-2043             ~~PU~~~~
 4                                  ~~-~~ ~~                              .~    d
                                                                                         Q
                                                                                         --  m
     In Pro Per                                                                ~-                    "~
 5                                                                                           cav
                                                                               ~~~'
 6                                                                             ;~=-          ~.i
                          UNITED STATES DISTRICT COURT                         ~~~`~~                d
 7
                                                                               n``'`~_       3
                                                                               ert.,         ~-
 8                       CENTRAL DISTRICT OF CALIFORNIA                             ~';'
                                                                                      ='~
                                                                                    ;         ~:,"
                                                                                       _.;
 9
                  BARRY ROSEN,                    Case No. 17-CV-07727-P G-JEMx
io   Individually and as a Private Attorney
ii   General
                  Petitioner and Plaintiff,       PLAINTIFF'S RESPONSE AND
12
                                                  OPPOSITION TO DEFENDANTS
13                      vs.                       EX PARTE APPLICATION FOR
                                                  EXTENSION OF TIME TO MEET
14
     UNITED STATES GOVERNMENT,                    AND CONFER
is   FEDERAL AVIATION
     ADMINISTRATION,AND CITY OF
16
     SANTA MONICA,                                [Declaration of Barry Rosen filed
i~               Respondents and                  concurrently herewith]
ig   Defendants.

19

20

21

22
           Plaintiff hereby opposes Defendants United States and Federal Aviation

23
     Administration("FAA")untimely, improper and bad faith Ex Parte Application fog

24   an extension oftime to meet and confer filed on February 6, 2018 on the following

Zs   grounds:

26

2~         1. Failure to comply with the Courts Standing Order ¶ 10.
Zs         Pursuant to,Paragraph 10 ofthe Courts Standing Order "The moving party
                   PLAINITFF'S RESPONSE/OPPOSITION TO DEFENDANTS EX PARTS

                                              1
Case 2:17-cv-07727-PSG-JEM Document 50 Filed 02/07/18 Page 2 of 19 Page ID #:428




     shall serve the opposing party by facsimile transmission and shall notify the
 2
     opposition that opposing papers must be filed not later than 3:00 p.m. on the first
 3
     business day following such facsimile service."
 4
           It is clear from a review of Defendant FAA's Ex Parte papers that they do
 5
     not assert that they fully complied with ¶ 10 by serving Plaintiff with a facsimile
 6
     transmission as required. In fact, as admitted by Defendants themselves,
     Defendants fully failed to send (or Serve) any copies of their Ex Parte Application
 g
     on Plaintiff(Declaration of Barry Rosen ¶ 10 ). As a result Defendants were
 9
     precluded from filing their ex pane application in the first instance
io
           The Court should therefore deny Defendants' ex parte application for failure
ii
     to comply with ¶ 10 of its standing order.
i2
13

14
           2.Failure to serve Plaintiff with the Ex Parte Application

is          As noted above, Defendant FAA not only failed to send/serve Plaintiff with

16   a facsimile transmission as required under ¶ 10 of the courts standing order, but

i~   also fully failed to serve Plaintiff with their Ex Parte application documents
ig   pursuant Fed. R. Civ. P. 5. Such is also is clear from the fact that the filing of the
19   Ex Parte Application was done with no proofofservice whatsoever. Moreover,
20   even though Plaintiff has recently obtained counsel in this Action, said counsel has
21   not yet substituted in to the Action and thus does not yet appear as counsel of
22   record. As a result, Plaintiff(acting in pro per) is still listed as counsel of record
23
     and would have needed to have been served pursuant to Fed. R. Civ. P. 5 for
24
     service to have been effective (Declaration of Barry Rosen ¶ 10 ). Plaintiff was
25
     clearly never served.
26
           The Court should therefore deny Defendants' ex parte application for failure
2~
     to serve Plaintiff with documents as required under Fed. R. Civ. P. 5.
Zs
                    PLAINITFF'S RESPONSE/OPPOSITION TO DEFENDANTS EX PARTS

                                                 2
Case 2:17-cv-07727-PSG-JEM Document 50 Filed 02/07/18 Page 3 of 19 Page ID #:429




 2
           3. No Actual Emergency Exists to Justify Ex Parte Relief
 3
           Defendant FAA themselves are at fault for creating the situation for which
 4
     they now seek ex parte relief. Defendants simply failed to comply with their
 5
     obligations under the local rules(and the courts standing order) to meet and confer
 6
     pursuant to L.R. 7-3. Now days after the cutoff date for such a meet and confer to
     have taken place has passed, Defendants now seek to fix a issues that have clearly
 s
     resulted from their own negligence. As a result, Defendants have now seriously
 9
     embellished the facts try and make a case that they somehow were denied the
io
     opportunity to meet and confer pursuant to L.R. 7-3. The real facts demonstrate
11
     that Defendants never made any request to meet and confer until after the time to
t2
     do so had already passed (Declaration of Barry Rosen ¶¶ 3-9 ).
13

14
           Defendant FAA has also failed to demonstrate how it would be irreparably

15   prejudiced, if it now has to actually file an answer to the Plaintiff's Second

16   Amended complaint due to its own failure comply L.R. 7-3. Moreover, Mr. Feldon

i~   hasn't even provided any facts here or to Plaintiff as to what issues might be
ig   waived or how a rule 12 motion to dismiss will somehow resolve the case, even if
19   he were now allowed do a meet and confer.(Declaration of Barry Rosen ¶ 9 ).
Zo         Plaintiff is aware that Mr. Feldon has consistently shown a lack ofregard
21   all ofthe rules, including but not limited to the local rules and courts standing
22   order. Plaintiff is further aware that many of the issues in this Action may be due
23
     negligence on the part of Mr. Feldon himself and as such, that Mr. Feldon may
24
     have a serious conflict of interest (Declaration of Barry Rosen ¶ 12 ).
Zs
           Quoting this courts previous rulings:"The law on ex parte applications is
26
     well-settled in the Ninth Circuit: In order to justify ex parte relief, the moving
2~
     must establish (1)that its cause will be irreparably prejudiced if the underlying
2s
                    PLAINITFF'S RESPONSE/OPPOSITION TO DEFENDANTS EX PARTE

                                                3
Case 2:17-cv-07727-PSG-JEM Document 50 Filed 02/07/18 Page 4 of 19 Page ID #:430



 1    motion is heard according to regularly noticed motion procedures, and (2)that it is
2
      without fault in creating the crisis that requires ex pane relief, or that the crisis
 3
     occurred as a result of excusable neglect. See Mission Power Eng'g Co. v. Cont'1
4
     Cas. Co., 883 F. Supp. 488,492(C.D. Cal. 1995). Additionally, the Court's
 s
     Standing Order requires strict compliance with the Mission Power standard and
6
      makes clear that "[e]x parte applications are solely for extraordinary relief."
            The "opportunities for legitimate ex parte applications are extremely limited
 s
     Horne v. Wells Fargo Bank, N.A., 969 F.Supp.2d 1203, 1205 (2013)(quoting
9
     Mission Power Engineering Co. v. Continental Casualty Co., 883 F.Supp. 488,489
io
     (C.D. Cal 1995)). To justify ex parte relief, the moving party must establish:(1)
li
     "that its cause will be irreparably prejudiced if the underlying motion is heard
12
13
     according to regular noticed motion procedures"; and(2)"that it is without fault in

14
     creating the crisis that requires ex parte relief, or that the crisis occurred as a result

15   of excusable neglect." Buchanan v. Neighbors Van Lines, No. CV 10-6206 PSG,

16   2010 U.S. Dist. LEXIS 98003, 2010 WL 3488209, *1 (C.D. Cal Sept. 1,

i~   2010)(citing Mission Power, 883 F.Supp. at 492)
ig          For the foregoing reasons, the court should now deny Defendant CSM's Ex
19   Parte Application.
20
     Respectfully submitted,
ai
22
     Dated: February 7, 2018,
23

24
                                                                ~~_~~~
                                                            .i-/y..
                                                      By.
Zs                                                    Barry Rosen, In Propria Persona
26

27

28
                     PLAINITFF'S RESPONSE/OPPOSITION TO DEFENDANTS EX PARTE

                                                  4
Case 2:17-cv-07727-PSG-JEM Document 50 Filed 02/07/18 Page 5 of 19 Page ID #:431




                                     CERTIFICATE OF ~FRViCE

                I, Gustavo Lamana, hereby certify that, on February 7,?Ol S, I served notice
         of Plaintiff's (Jppositic~n to Defendant FAA's Ex Pane Application for Extension
         of Tune to Meet and CQnfez and its accampanying attachments upon Mary Feldon,
    5
         attorney tar CaDefendant U~ Government AAA via email to his known email                i
         address gary.d.feldon cr usdoj.gov.
    r
               I declare under penalxy of perjury that the foregoing is true and correct.

    K
         Dated: February 7,?01 R,
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                                                         5
 Case 2:17-cv-07727-PSG-JEM Document 50 Filed 02/07/18 Page 6 of 19 Page ID #:432




      BARRY ROSEN
 2    136 S. Clark Dr. #5
     'Los Angeles, CA 90048
 3
      Tel:(323)653-2043
 4
     In Pro Per
 s
 6
                           UNITED STATES DISTRICT COURT

 s                       CENTRAL DISTRICT OF CALIFORNIA
 9
                  BARRY ROSEN,                   Case No. 17-CV-07727-PSG-JEMx
io   Individually and as a Private Attorney
ii   General
                  Petitioner and Plaintiff,     DECLARATION OF BARRY
12
                                                ROSEN IN SUPPORT OF
13                       vs.                    PLAINTIFF'S OPPOSITION TO
                                                DEFENDANTS EXPARTS
14
     UNITED STATES GOVERNMENT,                  APPLICATION FOR EXTENSION
15   FEDERAL AVIATION                           OF TIME TO MEET AND CONFER
     ADMINISTRATION,AND CITY OF
16
     SANTA MONICA,
i~               Respondents and
is   Defendants.

19

20
     I,Barry Rosen, declare as follows:
21
     1.      I am the Pro Per Petitioner in this matter, I could and would testify
22   competently to the facts set forth in this Declaration.
23   2.      While I am now represented by Counsel in this Action, because a notice of
     substitution has not yet been filed and because counsel has not yet been
24   subsitituted in by court order, I have had now to file this Opposition myself in pro
25   per(and as counsel ofrecord) due to the courts deadline pursuant to Paragraph 10
     of its standing order.
26
     3.      My notification on February 1, 2018 to counsel for Co-Defendant City of
2~   Santa Monica("CSM")regarding retention of Counsel in this Action was in
28    DECLARATION OF BARRY ROSEN IN SUPPORT OF PLAINITFF'S OPPOSITION TO DEFENDANTS EX
                            PARTS APPLICATION TO EXTEND TIME
                                             1
 Case 2:17-cv-07727-PSG-JEM Document 50 Filed 02/07/18 Page 7 of 19 Page ID #:433




     response to a January 30, 2018 email request to meet and confer pursuant to local
     rule 7-3 and was required under state bar rules as they could no longer
     communicate with me as a represented party. Attached hereto as Exhibits 1 and 2
     area true and correct copies ofthe January 30, 2018 email and February 1, 2018
     responses thereto.
     4.      At the time of my notification to counsel for CSM,I had not received any
     communications whatsoever from counsel for Co-Defendant Federal Aviation
     Administration("FAA")that would have prompted me to make such a
     communication/notification to the FAA related to substation of counsel.
     Regardless, I am aware that they would receive such notification upon the filing of
     the Notice of Substitution by new counsel on the courts ECF system.
     5.      As demonstrated by the January 30, February 1 and 2 2018 emails(see
     E~ibits 1,2 and 3), the meet and confer requested was always for February 5th,
~o   2018. It was never scheduled for February 3rd, 2018 as is (incorrectly) asserted by
ii   Mr. Feldon in his Ex Parte Application. Attached hereto as Exhibit 3 is a true and
     correct copy of a February 2, 2018 email forwarded to me by counsel showing a
t2
     confirmation for meet and confer for February 5, 2018 at loam. It should be noted
13   that Mr. Feldon was never included in any ofthe communications about the
14
     February 5th meet and confer.
     6.      As demonstrated by E~ibit 3,I was personally aware of the fact that the
15   meet and confer with counsel for Co-Defendant CSM was ultimately scheduled to
16   happen at loam on February 5, 2018.
     7.      The meet and confer with counsel for Co-Defendant CSM,did in fact take I
i~   place on February 5th, 2018 at loam by telephone and I was a party to that
is   telephone conference at the office of my new counsel, Gustavo Lamanna.
     8.       As part ofthat telephone conference on February 5th, 2018, counsel for Co-
19
     Defendant CSM was specifically asked by my counsel, Gustavo Lamanna, if
Zo   Counsel for the FAA would be participating. In response, they indicated that Mr.
21
     Feldon was not included as part oftheir telephonic meet and confer pursuant to 7-
     9.      I am aware that Mr. Feldon never made a meet and confer request, nor
22   actually met and conferred at least 7 or more days prior to the date that a response
23   filing is currently due (February 12, 2018)as required under Local Rule 7-3 and is
     therefore FAA Defendants precluded themselves from doing anything but filing an
24
     answer to Plaintiff's Second Amended Complaint. Furthermore, Mr. Feldon fails t
25   demonstrate how a motion to dismiss will resolve the Action and has never
     provided any facts as to what issues may exist or might be waived even if he were
26
     still allowed do a meet and confer.
a~
2g    DECLARATION OF BARRY ROSEN IN SUPPORT OF PLAINITFF'S OPPOSITION TO DEFENDANTS EX
                            PARTE APPLICATION TO EXTEND TIME
                                             2
 Case 2:17-cv-07727-PSG-JEM Document 50 Filed 02/07/18 Page 8 of 19 Page ID #:434




    10. Because I am still listed as counsel of record and because I am not subject to
 2 service via the ECF system, Defendant FAA would have needed to have served me
    with their Ex Parte Application pursuant to both Paragraph 10 of the courts
  3
    standing order and Fed. R. Civ. P. 5. I have received no such service nor have
 4 Defendants FAA filed a proof of service or in any way asserted that they
    performed service whatsoever.
  s
    1 1. I am aware that Co-Defendant FAA was served with the courts standing
 6 order, along with the First Amended Complaint.
    12. I am aware that Mr. Feldon has consistently shown a lack of regard for all of
    the rules, including but not limited to the local rules and courts standing order. I am
 s further aware that many ofthe issues in this Action may be due to negligence on
 9 the part of Mr. Feldon himself and as such, that Mr. Feldon may have a serious
    conflict of interest
io 13.
           I am aware that notice of substitution of counsel will be finally be filed
i t shortly in this Action.
12
     I declare under penalty of perjury that the foregoing is true and correct. Executed
13   this 7th day of November 2018, in Los Angeles, California.
14

15

16
           Barry Rosen
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28   DECLARATION OF BARRY ROSEN IN SUPPORT OF PLAINITFF'S OPPOSITION TO DEFENDANTS EX
                           PARTE APPLICATION TO EXTEND TIME
                                            3
Case 2:17-cv-07727-PSG-JEM Document 50 Filed 02/07/18 Page 9 of 19 Page ID #:435




                             Exhibit 1
Case 2:17-cv-07727-PSG-JEM Document 50 Filed 02/07/18 Page 10 of 19 Page ID #:436
                                               Wednesday, February 7, 2018      10:07:41 AM Pacific Standard Time

 Subject: CSM/Rosen -Meet and Confer Request
 Date:     Tuesday, January 30, 2018 at 12:04:16 PM Pacific Standard Time
 From:     Hazen, Brian L.
 To:       Barry Rosen
 CC:       Walsh, David M., Cave, Matthew

 Dear Mr. Rosen:

 It was great speaking with you last week, and I hope you enjoyed the weekend. We've reviewed the Second
 Amended Petition, and we'd like to set up atime—preferably next Monday morning, February 5—to have a
 telephone conference about the City's planned motion to dismiss the Second Amended Petition. Please let
 us know if you are available Monday morning, and if so, what time would be best.

 Thanks,
 Brian

 BRIAN L. HAZEN
 Associate ~ Morrison & Foerster LLP
 12531 High Bluff Drive ~ San Diego, CA 92130-2040
 p; +1 (858) 314-7511
 mofo.com ~ Linkedln ~ Twitter




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Case 2:17-cv-07727-PSG-JEM Document 50 Filed 02/07/18 Page 11 of 19 Page ID #:437




                             Exhibit 2
Case 2:17-cv-07727-PSG-JEM Document 50 Filed 02/07/18 Page 12 of 19 Page ID #:438
                                                              Wednesday, February 7, 201b _ .10:08:13 AM Pacific Standard Time

 Subject: Re: CSM/Rosen -Meet and Confer Request
 Date:         Thursday, February 1, 2018 at 5:36:48 PM Pacific Standard Time
 From:         Gustavo Lamanna (sent by <gustavo.lamanna@gmail.com>)
 To:            Hazen, Brian L.
 CC:            Barry Rosen, Walsh, David M., Cave, Matthew

 Dear Mr. Hazen:

  have formally come in on this case and look to file a substitution in due course. In the meantime,feel free to copy
 M r. Rosen, myactively-involved client, with any communications, as you deem appropriate. Looking forward to our
 meet and confer on Monday morning, and hopefully, seeing a memorialization of the topics for discussion tomorrow.

 By the way, we feel strongly about much of the challenges in Mr. Rosen's SAC, would you also be prepared to discuss
 setting meet and confer dates under Local Rule 7-3 for Mr. Rosen's motion for partial summary judgment?

 Sincerely,

 ..........................................................
 G ustavo Lamanna
 Attorney at Law
 11599 West Gateway Boulevard
 Los Angeles, CA 90064
 glamanna@usa.net
 310-497-6558 cell

 On Thu, Feb 1, 2018 at 1:09 PM, Hazen, Brian L. <BHazen                 mofo.com> wrote:

    Thanks, Mr. Rosen. I look forward to working with your attorney.



    Best,

    Brian



    BRIAN L. HAZEN

    Associate ~ Morrison & Foerster LLP

    12531 High Bluff Drive ~ San Diego, CA 92130-2040

    p: +1 (858) 314-7511 ~ bhazen@mofo.com

    mofo.com ~ blog




    From: Barry Rosen [mailto:~trlegal-csmfaaCa~yahoo.com]
    Sent: Thursday, February 01, 2018 12:32 PM
    To: Hazen, Brian L.
    Cc: Walsh, David M.; Cave, Matthew; glamanna usa.net
    Subject: Re: CSM/Rosen -Meet and Confer Request

                                                                                                                        Page 1 of 3
Case 2:17-cv-07727-PSG-JEM Document 50 Filed 02/07/18 Page 13 of 19 Page ID #:439




  - External Email -


  Brian,



  In response to your email, counsel will now be stepping in to represent me in this matter. I have passed along
  your meet and confer request to him. You will now need to address all issues to him directly. He has also been
  copied on this email.



  Regards



  Barry



  On Tuesday, January 30, 2018 12:04 PM,"Hazen, Brian L." <BHazen        mofo.com> wrote:



  Dear Mr. Rosen:



  It was great speaking with you last week, and I hope you enjoyed the weekend. We've reviewed the
  Second Amended Petition, and we'd like to set up atime—preferably next Monday morning, February 5
  —to have a telephone conference about the City's planned motion to dismiss the Second Amended
  Petition. Please let us know if you are available Monday morning, and if so, what time would be best.



  Thanks,

  Brian



  BRIAN L. HAZEN

  Associate ~ Morrison & Foerster LLP

  1 2531 High Bluff Drive ~ San Diego, CA 92130-2040

  P: +1 (858)314-7511

  mofo.com ; Linkedln i Twitter




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                             Exhibit 3
Case 2:17-cv-07727-PSG-JEM Document 50 Filed 02/07/18 Page 16 of 19 Page ID #:442
                                                Wednesday, February 7, 201a .. 10:07:09 AM Pacific Standard Time

 Subject: Fwd: CSM/Rosen -Meet and Confer Request
 Date:      Friday, February 2, 2018 at 3:26:27 PM Pacific Standard Time
 From:      Gustavo Lamanna
 To:        Barry Rosen




 Gustavo Lamanna
 Mobile 310.497.6558

 Begin forwarded message:


         From:"Hazen, Brian L." <BHazen mofo.com>
         Date: February 1, 2018 at 10:26:05 PM PST
         To: Gustavo Lamanna <glamannaC~usa.net>
         Cc: "Walsh, David M." <DWalsh mofo.com>,"Cave, Matthew" <MCave mofo.com>
         Subject: RE: FW:CSM/Rosen -Meet and Confer Request


         Dear Mr. Lamanna:

         Thanks for your response. 10:00 am on Monday works for us. We will circulate a conference
         call dial-in for that time and look forward to speaking then. We will raise and discuss the issues
         on Monday as required by the rules, but we won't be providing a list beforehand. Most of the
         issues are familiar to Mr. Rosen from our last meet and confer session. We can discuss any
         additional issues on Monday.

         As to your request to confer about a motion for partial summaryjudgment, given the likely
         overlap of issues with our motion to dismiss, why don't we plan to confer on your proposed
         motion on Monday as well? If you'd like to schedule dates further out, let us know what works
         for you and we can coordinate.

         We look forward to speaking on Monday at 10:00 am.

         Thanks,
         Brian

         BRIAN L. HAZEN
         Associate ~ Morrison & Foerster LLP
         12531 High Bluff Drive ~ San Diego, CA 92130-2040
         p: +1 (858) 314-7511 ~ bhazen mofo.com
         mofo.com ~ blot'

         From: gustavo.lamannaCa~gmail.com [mailto:gustavo.lamannaCa~gmail.com] On Behalf Of Gustavo
         Lamanna
         Sent: Thursday, February 01, 2018 5:32 PM
         To: Hazen, Brian L.
         Cc: Walsh, David M.; Cave, Matthew
         Subject: Re: FW: CSM/Rosen -Meet and Confer Request

         - External Email -


                                                                                                              Page 1 of 3
Case 2:17-cv-07727-PSG-JEM Document 50 Filed 02/07/18 Page 17 of 19 Page ID #:443


              Dear Mr. Hazen:

              Thank you for your e-mail. I look forward to working with you too on this case.

              Monday morning for a telephonic meet and confer conference call is acceptable. Would
              loam work for you?

              As I have just got in on this case, would you kindly prepare and remit to me by 2pm
              tomorrow abullet-point and/or summary ofthe issues for our meet and confer?

              Sincerely,


     Gustavo Lamanna
     Attorney at Law
     11599 West Gateway Boulevard
     Los Angeles, CA 90064
     glamanna@usa.net
     310-497-6558 cell

      On Thu, Feb 1, 2018 at 1:17 PM,Hazen, Brian L. <BHazen(~mofo.com> wrote:
      Hello,

     M r. Rosen has informed me that you are his counsel in his lawsuit against our client, the City of
     Santa Monica. We look forward to working with you.

      The City plans to file a motion to dismiss Mr. Rosen's Second Amended Petition on or before
      February 12, which is our deadline for filing a responsive pleading. Pursuant to Local Rule 7-3,
      we need to have a conference of counsel seven days before that, or Monday, February 5.

      We propose a conference call on Monday morning (2/5) to discuss the City's proposed motion.
      Please let me know if that morning works for you, and if so, what time you would be available.

      Thanks,
      Brian

      BRIAN L. HAZEN
      Associate ~ Morrison & Foerster LLP
      12531 High Bluff Drive ~ San Diego, CA 92130-2040
      p; +1 ($~$) 314-7511 ~ ienCa~mofo.com
                             bha
      mofo.com ~ blog

     From: Barry Rosen [mailto:brlegal-csmfaa@yahoo.com]
     Sent: Thursday, February 01, 2018 12:32 PM
     To: Hazen, Brian L.
     Cc: Walsh, David M.; Cave, Matthew; c~lamanna@usa.net
     Subject: Re: CSM/Rosen -Meet and Confer Request

     - External Email -




                                                                                                          Page 2 of 3
Case 2:17-cv-07727-PSG-JEM Document 50 Filed 02/07/18 Page 18 of 19 Page ID #:444


      Brian,

      In response to your email, counsel will now be stepping in to represent me in this matter. I have
      passed along your meet and confer request to him. You will now need to address all issues to him
      directly. He has also been copied on this email.

      Regards

      Barry


      On Tuesday, January 30, 2018 12:04 PM,"Hazen, Brian L." <BHazen(~mofo.com> wrote:


      Dear Mr. Rosen:

      It was great speaking with you last week, and I hope you enjoyed the weekend.
      We've reviewed the Second Amended Petition, and we'd like to set up a time—
      preferably next Monday morning, February 5—to have a telephone conference
      about the City's planned motion to dismiss the Second Amended Petition. Please
      let us know if you are available Monday morning, and if so, what time would be
      best.

      Thanks,
      Brian

      BRIAN L. HAZEN
      Associate ~ Morrison & Foerster LLP
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Case 2:17-cv-07727-PSG-JEM Document 50 Filed 02/07/18 Page 19 of 19 Page ID #:445




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                                                                                                                  Page 4 of 3
